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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

GLOBAL PLASMA SOLUTIONS, INC.,                §
                                              §
      Plaintiff,                              §
                                              §
v.                                            §          Civil Action No. 3:21-cv-00884-M
                                              §
D ZINE PARTNERS, LLC, et al.,                 §
                                              §
      Defendants.                             §
                                              §
                                              §

                                          ORDER

       Before the Court is the Agreed Motion for Withdrawal of Counsel (ECF No. 352), filed

by Defendant D Zine Partners, LLC. The Motion is GRANTED. Brett B. Stalcup is hereby

withdrawn as attorney of record for Defendant D Zine Partners, LLC.

       SO ORDERED.

       October 11, 2022.


                                           BARBARA M. G. LYNN
                                           UNITED STATES DISTRICT JUDGE
